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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                          )        Chapter 11
                                                                )
IGNITE RESTAURANT GROUP, INC., et al.,1                         )        Case No. 17-33550 (DRJ)
                                                                )
                    Debtors.                                    )        (Jointly Administered)
                                                                )

      GUC TRUST’S EIGHTEENTH OMNIBUS OBJECTION TO CLAIMS
PURSUANT TO SECTION 502(B) OF THE BANKRUPTCY CODE AND RULE 3007 OF
THE FEDERAL RULES OF BANKRUPTCY PROCEDURE SEEKING TO DISALLOW
                  AND EXPUNGE CERTAIN CLAIMS

                                         (UNLIQUIDATED CLAIMS)

    THIS IS AN OBJECTION TO YOUR CLAIM. THE OBJECTING PARTY IS ASKING THE
    COURT TO DISALLOW THE CLAIM THAT YOU FILED IN THESE BANKRUPTCY CASES.
    YOU SHOULD IMMEDIATELY CONTACT THE OBJECTING PARTY TO RESOLVE THE
    DISPUTE. IF YOU DO NOT REACH AN AGREEMENT, YOU MUST FILE A RESPONSE TO
    THIS OBJECTION AND SEND A COPY OF YOUR RESPONSE TO THE OBJECTING PARTY
    WITHIN 30 DAYS AFTER THE OBJECTION WAS SERVED ON YOU. YOUR RESPONSE
    MUST STATE WHY THE OBJECTION IS NOT VALID. IF YOU DO NOT FILE A RESPONSE
    WITHIN 30 DAYS AFTER THE OBJECTION WAS SERVED ON YOU, YOUR CLAIM MAY
    BE DISALLOWED WITHOUT A HEARING.

    A HEARING HAS BEEN SET ON THIS MATTER ON SEPTEMBER 24, 2019 AT 2:00 P.M.
    (CENTRAL TIME) AND WILL BE HELD IN COURTROOM 400, 4TH FLOOR UNITED
    STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF TEXAS, 515 RUSK
    STREET, HOUSTON, TEXAS 77002.


    THIS OBJECTION SEEKS TO DISALLOW AND EXPUNGE CERTAIN PROOFS OF CLAIM.
    CLAIMANTS RECEIVING THIS OBJECTION SHOULD LOCATE THEIR NAMES AND
    CLAIMS ON SCHEDULE 1 TO EXHIBIT A ATTACHED TO THIS OBJECTION.



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number (if any), are: Ignite Restaurant Group, Inc. (1359); Ignite Restaurant Group – RSC LLC (1791); Joe’s Crab
    Shack, LLC (4189); Joe’s Crab Shack – Redondo Beach, Inc. (5107); BHTT Entertainment, LLC (9818); Ignite
    Restaurants – New Jersey, LLC (5907); Joe’s Crab Shack – Maryland, LLC (5297); Joe’s Crab Shack – Anne
    Arundel MD, LLC (9318); Brick House Development, LLC (2944); JCS Monmouth Mall – NJ, LLC (3509); JCS
    Development LLC (4235). The Debtors’ service address is: 10555 Richmond Avenue, Houston, Texas 77042.




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        Drivetrain, LLC, in its capacity as Trustee (the “GUC Trustee”) of the Ignite Restaurant

Group GUC Trust (the “GUC Trust”) files this Eighteenth Omnibus Objection to Claims Pursuant

to Section 502(b) of the Bankruptcy Code and Rule 3007 of the Federal Rules of Bankruptcy

Procedure Seeking to Disallow and Expunge Certain Claims (Unliquidated Claims) (this

“Objection”). In support of this Objection, the GUC Trustee respectfully represents as follows:

                                      Jurisdiction and Venue

        1.       This Court has jurisdiction over this case and this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(B).

Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409(a).

        2.       The predicates for the relief requested herein are section 502(b) of title 11 of the

United States Code (“Bankruptcy Code”) and Rule 3007 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”).

                                          Relief Requested

        3.       The GUC Trustee respectfully requests entry of an order, substantially in the form

attached hereto as Exhibit A (the “Order”) disallowing and expunging each claim identified with

a “Claim No.” on Schedule 1 to the Order (collectively, the “Unliquidated Claims”) its entirety

because each such proof of claim does not assert an amount and constitutes an unliquidated general

unsecured claim for which the Debtors’ estates are not liable.

                                        General Background

        4.       On June 6, 2017 (the “Petition Date”), each of the Debtors filed a voluntary petition

with the Court under chapter 11 of the Bankruptcy Code. The cases are being jointly administered

pursuant to Bankruptcy Rule 1015(b).




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        5.       The factual background relating to the Debtors’ commencement of these cases is

set forth in detail in the Declaration of Jonathan Tibus in Support of Chapter 11 Petitions and

First Day Motions [Docket No. 4] filed on the Petition Date and incorporated herein by reference.

        6.       The Debtors have continued in possession of their properties as debtors-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        7.        On August 29, 2017, the Debtors closed the sale of substantially all of their assets.

        8.       On September 18, 2017, the Debtors filed: (a) the Debtors’ Joint Chapter 11 Plan

as of September 18, 2017 [Docket No. 708] (the “Plan”); and (b) the Disclosure Statement with

Respect to the Debtors’ Joint Chapter 11 Plan as of September 18, 2017 [Docket No. 709] (the

“Disclosure Statement”).

        9.       On November 29, 2017, the Court confirmed the Plan and on December 1, 2017,

entered the Findings of Fact, Conclusions of Law, and Order Confirming the Debtors’ Joint

Chapter 11 Plan as of September 18, 2017 (the “Confirmation Order”) [Docket No. 967]. The

Plan became effective on December 19, 2017 (the “Effective Date”). See Docket No. 1031.

        10.      Under the Plan, Drivetrain, LLC was appointed as the GUC Trustee of the Ignite

Restaurant Group GUC Trust.

        11.      Pursuant to the Plan, the GUC Trustee is a party in interest with respect to all

objections to Claims and all compromises of such objections. Plan, Section 8.04 (“. . . the GUC

Trustee and other parties in interest to the extent provided by section 502(a) of the Bankruptcy

Code, on and after the Effective Date, shall have the right to File objections to Claims . . .”).




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                                The Claims Reconciliation Process

        12.      On June 7, 2017, the Court established September 1, 2017 as the bar date for filing

claims against the Debtors held by non-governmental entities and December 3, 2017 as the bar

date for filing claims against the Debtors held by governmental entities [Docket No. 65].

        13.      On July 20, 2017, the Debtors filed their Schedules of Assets and Liabilities and

Statements of Financial Affairs.

        14.      On November 13, 2017, the Court entered the Order Approving Omnibus Claims

Objection Procedures and Filing of Substantive Omnibus Claims Objections [Docket No. 886],

approving and establishing the proposed objection procedures (the “Objection Procedures”). This

Objection is filed in accordance with the Objection Procedures.

        15.      The official claims register, prepared and maintained by the Debtors’ claims agent,

reflects that over 1,450 proofs of claim were filed against the Debtors’ estates.

        16.      Since the Effective Date, the GUC Trustee and its advisors have been working

diligently to review these proofs of claim, including any supporting documentation filed together

with any proof of claim. To date, the GUC Trustee has objected to numerous claims through

omnibus objections and also separately resolved certain claims through consensual stipulations.

The GUC Trustee continues to review and reconcile claims for which it is responsible.

        17.      On September 21, 2018, Mark A. Roberts as the Trustee for the IRG Creditors

Liquidation Trust (the “Liquidation Trustee”), filed the Liquidation Trustee’s fifteenth omnibus

objection [Docket No. 1368] to various claims seeking to reclassify certain misclassified claims to

general unsecured claims. On November 7, 2018, the Court entered an order [Docket No. 1453]

(the “Liquidation Trust 15th Omnibus Order”) reclassifying such claims to general unsecured

status. Certain of the claims subject to the Liquidation Trust 15th Omnibus Order were filed by




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Navigator Specialty Insurance Company and certain related entities (collectively, “Navigator”)

and currently remain on the claims register as unliquidated general unsecured claims subject to

objection by the GUC Trust.

        18.      The Unliquidated Claims subject to this Objection are all of the unliquidated

general unsecured claims filed by Navigator. Navigator previously informed the GUC Trust that

it would not oppose the expungement of its claims. Despite attempts to resolve the Unliquidated

Claims informally by stipulation, Navigator has not consented to an agreed stipulation on the

Unliquidated Claims. The GUC Trust therefore files this Objection as it needs to proceed with its

reconciliation of all unsecured claims so that further administration of the estates and the GUC

Trust is not delayed.

        19.      Attached hereto as Exhibit B is the Declaration of Ivona Smith in Support of the

Eighteenth Omnibus Objection to Claims Pursuant to Section 502(b) of the Bankruptcy Code and

Rule 3007 of the Federal Rules of Bankruptcy Procedure Seeking to Disallow and Expunge

Certain Claims (Unliquidated Claims) (the “Declaration”).

                                          Basis for Relief

        20.      Pursuant to section 502(a) of the Bankruptcy Code, a filed proof of claim is deemed

allowed, unless a party in interest objects. 11 U.S.C. § 502(a). A properly executed and filed

proof of claim constitutes prima facie evidence of the validity and the amount of the claim under

section 502(a) of the Bankruptcy Code. Fed. R. Bankr. P. 3001(f). To receive the benefit of prima

facie validity, however, a proof of claim must assert factual allegations which would entitle the

claimant to a recovery. In re Heritage Org., LLC, 04-35574 (BJH), 206 WL 6508477, at *8

(Bankr. N.D. Tex. Jan. 27, 2006). Additionally, a claimant’s proof of claim is entitled to the

presumption of prima facie validity under Bankruptcy Rule 3001(f) only until an objecting party




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refutes at least one of the allegations that is essential to the claim’s legal sufficiency. In re Starnes,

231 B.R. 903, 912 (N.D. Tex. 1998). Once an allegation is refuted, “the burden shifts to the

claimant to prove by a preponderance of the evidence.” In re Congress, LLC, 529 B.R. 213, 219

(Bankr. W.D. Tex. 2015); see also Cavu/Rock Props. Project I, LLC v. Gold Star Constr., Inc. (In

re Cavu/Rock Props. Project I, LLC), 516 B.R. 414, 422 (Bankr. W.D. Tex. 2014). “The ultimate

burden of proof always lies with the claimant.” In re Armstrong, 347 B.R. 581, 583 (Bankr. N.D.

Tex. 2006).

        21.      Creditors without any idea of how much their claim is may file an “unliquidated”

proof of claim, i.e., one without an amount owed. However, only a properly filed proof of claim

constitutes prima facie evidence of the validity and amount of the claim. Fed. R. Bankr. P. 3001(f);

see also In re Broadband Wireless International Corp., 295 B.R. 140, 145 (B.A.P. 10th Cir. 2003);

In re Lyndell Drop Forge Company, 111 B.R. 137, 142-43 (Bankr. W.D. Mich. 1990). A properly

filed proof of claim is a claim that sets forth the validity and amount of that claim. Fed. R. Bankr.

P. 3001(f); In re Fergus Falls Woolen Mills Company, 41 F. Supp. 355, 364 (D. Minn. 1941). A

proof of claim that does not set forth a “liquidated amount” is not a properly filed proof of claim

and, therefore, it is not entitled to be considered as prima facie evidentiary proof. In re Lyndell

Drop Forge Company, 111 B.R. at 142.

        22.      Bankruptcy Rule 3007 requires that an objection to a proof of claim be made in

writing, and that the claimant be provided with not less than thirty days’ notice of the hearing to

be held in respect of such objection. See Fed. R. Bankr. P. 3007(a). Objections of up to one

hundred claims may be joined in an omnibus objection if such objections are based on the

grounds that the claims should be disallowed, in whole or in part, for any of eight enumerated




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reasons, including: “they were presented in a form that does not comply with applicable rules, and

the objection states that the objector is unable to determine the validity of the claim because of

noncompliance.” See Fed. R. Bankr. P. 3007(d).

        23.      In addition, pursuant to the Objection Procedures, the GUC Trustee is authorized

to file omnibus objections to claims on grounds that such claims, in part or in whole, (a) are

inconsistent with the Debtors’ books and records; (b) fail to specify the asserted claim amount

(other than “unliquidated”); (c) seek recovery of amounts for which the Debtors are not liable; (d)

are incorrectly or improperly classified; (e) have been formally withdrawn by the claimant through

the filing of a pleading through the entry of a Court order indicating withdrawal of the claim; (f)

are filed against non-debtors or are filed against multiple Debtors; (g) fail to specify a Debtor

against whom the claim is asserted; (h) are disallowed pursuant to section 502 of the Bankruptcy

Code; or (i) fail to sufficiently specify the basis for the claim or provide sufficient supporting

documentation therefor. Objection Procedures ¶ 1(i).

        24.      The GUC Trustee and its advisors are in the process of reviewing all general

unsecured proofs of claim filed in these cases. As part of this review, the GUC Trustee and its

advisors are not aware that the Debtors’ estates have any liability for the Unliquidated Claims

listed in Schedule 1 to Exhibit A. The claimants filing the Unliquidated Claims have not moved

to amend their claims, or otherwise take action to fix the Unliquidated Claims at a certain dollar

amount, and the GUC Trust and its advisors are not aware of any liability of the Debtors’ estates

to such claimants. If the Unliquidated Claims are not disallowed and expunged, the parties that

filed these claims could receive recoveries to which they are not actually entitled. See Declaration

at ¶ 6. In addition, the GUC Trustee cannot make distributions on unliquidated claims for amounts

that are unknown.




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        25.      Accordingly, the GUC Trustee respectfully requests that the Court disallow and

expunge each Unliquidated Claim in its entirety.

        26.      Moreover, section 502(c) provides that there shall be estimated for purpose of

allowance any contingent or unliquidated claim, the fixing or liquidation of which, as the case may

be, would unduly delay the administration of the case. Because there is no stated or known basis

for the Unliquidated Claims, the GUC Trust respectfully requests that same be should be expunged

and disallowed in their entirety or estimated at $0.00 for distribution purposes from the GUC Trust.

        27.      As the GUC Trustee proceeds with administration of the GUC Trust, it is

imperative that the universe of general unsecured claims asserted against the Debtor’s estates

pursuant to section 502 of the Bankruptcy Code is clearly defined. See In re Roman Catholic

Archbishop or Portland in Or., 339 B.R. 215, 219 (Bankr. D. Or. 2006) (“When actual liquidation

of claims would unduly delay administration of the bankruptcy estate, estimation is mandatory.”);

see also International Brotherhood of Teamsters v. IML Freight, Inc., 789 F.2d 1460, 1463 (10th

Cir. 1986) (“Section 502(c) requires that such unliquidated claims must be estimated for allowance

if liquidation of the claim would unduly delay closing of the case.”); In re Stone & Webster, Inc.,

279 B.R. 748, 810 (Bankr. D. Del. 2002) (“The purpose of an estimation proceeding is to avoid

delays that may arise from waiting to fix the value of contingent claims. An estimation proceeding

expedites the bankruptcy process so that key steps in a reorganization that depend on the fixing of

value may proceed. In essence, an estimation proceeding is a procedural device that is to be used

when adjudication and liquidation of a claim would take an unreasonably long time to allow courts

to quickly and flexibly estimate the amount of an as yet to be liquidated claim.”) (citation omitted);

4 Collier’s on Bankruptcy ¶ 502.04(1) (15th ed. 2001) (“[S]ection 502(c) provides a mechanism

for estimating the amount of a contingent or unliquidated claim for the purpose of its allowance




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where the actual liquidation of the claim as determined by the court would unduly delay the

administration of the case.”).

        28.      The GUC Trust and general unsecured creditors cannot wait for an undetermined

period for any and all contingencies that may underlie each of the Unliquidated Claims to be

completed and finalized so that such claims are “liquidated” and before the GUC Trust funds can

be distributed pursuant to the GUC Trust Agreement. It would unduly delay the administration of

these chapter 11 cases.

        29.      Accordingly, the GUC Trustee respectfully requests that the Court disallow and

expunge each Unliquidated Claim in its entirety. In the alternative, for the reasons set forth above,

the asserted Unliquidated Claims should be estimated at $0.00 for distribution purposes from the

GUC Trust, and/or expunged and disallowed, either in whole or in part and because the claimants

have failed to assert a valid prima facie claim.

                                       Reservation of Rights

        30.      In the event that any of the Unliquidated Claims are not disallowed and expunged

on the grounds asserted herein, the GUC Trustee hereby reserves his rights to object to such Proofs

of Claim on any other grounds. Additionally, the GUC Trustee expressly reserves the right to

amend, modify, or supplement the objections asserted herein and to file additional objections to

the Proofs of Claim or any other claims that may be asserted against the Debtors’ estates.

        31.      Nothing contained herein or any actions taken pursuant to such relief is intended or

should be construed as: (a) an admission as to the validity of any prepetition claim against a Debtor

entity or such Debtor entity’s estate; (b) a waiver of any party’s right to dispute any prepetition

claim on any grounds; (c) a promise or requirement to pay any prepetition claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Objection or any




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order granting the relief requested by this Objection; (e) a request or authorization to assume any

prepetition agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; or (f) a

waiver of the GUC Trustee’s rights under the Bankruptcy Code or any other applicable law.

                                   Separate Contested Matter

          32.    To the extent that a response is filed regarding any Unliquidated Claim and the

GUC Trustee is unable to resolve any such response, each such Unliquidated Claim, and the

Objection as it pertains to such Unliquidated Claim, will constitute a separate contested matter as

contemplated by Bankruptcy Rule 9014. Further, the GUC Trustee requests that any order entered

by the Court regarding an objection or other reply asserted in response to this Objection be deemed

a separate order with respect to each proof of claim.

                                              Notice

          33.    Notice of this Objection has been given to: (a) all parties on the Master Service

List; and (b) holders of the Unliquidated Claims. The GUC Trustee respectfully submits that such

notice is sufficient and proper under the circumstances and that no other or further notice is

required.

                                            Conclusion

          WHEREFORE, based upon the foregoing, the GUC Trustee respectfully request that the

Court: (a) sustain this Objection; (b) enter an order substantially in the form of the order attached

hereto as Exhibit A sustaining this Objection and providing that the Unliquidated Claims shall be

disallowed and expunged; and (c) grant such other and further relief as the Court deems just and

proper.




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Dated: July 26, 2019                 Respectfully submitted,

                                     COLE SCHOTZ P.C.

                                     /s/ Michael D. Warner
                                     Michael D. Warner (TX Bar No. 00792304)
                                     Benjamin L. Wallen (TX Bar No. 24102623)
                                     301 Commerce Street, Suite 1700
                                     Fort Worth, TX 76102
                                     Telephone: (817) 810-5265
                                     Facsimile: (817) 977-1611
                                     Email: mwarner@coleschotz.com
                                            bwallen@coleschotz.com

                                     -and-

                                     PACHULSKI STANG ZIEHL & JONES LLP
                                     Bradford J. Sandler (admitted pro hac vice)
                                     Peter J. Keane (admitted pro hac vice)
                                     919 North Market Street, 17th Floor
                                     Wilmington, DE 19801
                                     Telephone: (302) 652-4100
                                     Email: bsandler@pszjlaw.com
                                             pkeane@pszjlaw.com

                                     Counsel to the GUC Trustee




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                                   EXHIBIT A

                                 Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                           )        Chapter 11
                                                                 )
IGNITE RESTAURANT GROUP, INC., et al.,1                          )        Case No. 17-33550 (DRJ)
                                                                 )
                    Debtors.                                     )        (Jointly Administered)
                                                                 )

                         ORDER SUSTAINING
            EIGHTEENTH OMNIBUS OBJECTION TO CLAIMS
PURSUANT TO SECTION 502(B) OF THE BANKRUPTCY CODE AND RULE 3007 OF
THE FEDERAL RULES OF BANKRUPTCY PROCEDURE SEEKING TO DISALLOW
                  AND EXPUNGE CERTAIN CLAIMS

                                         (UNLIQUIDATED CLAIMS)

           Upon the objection (the “Objection”)2 of Drivetrain, LLC, in its capacity as Trustee (the

“GUC Trustee”) of the Ignite Restaurant Group GUC Trust (the “GUC Trust”) seeking entry of an

order (this “Order”) disallowing and expunging the Unliquidated Claims identified on Schedule 1

attached hereto, it is HEREBY ORDERED THAT:

           1.       The Objection is sustained as set forth herein.

           2.       Pursuant to Section 502(b) of the Bankruptcy Code and Bankruptcy Rule 3007,

each Unliquidated Claim identified on Schedule 1 to this Order is disallowed and expunged in its

entirety.




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number (if any), are: Ignite Restaurant Group, Inc. (1359); Ignite Restaurant Group – RSC LLC (1791); Joe’s Crab
Shack, LLC (4189); Joe’s Crab Shack – Redondo Beach, Inc. (5107); BHTT Entertainment, LLC (9818); Ignite
Restaurants – New Jersey, LLC (5907); Joe’s Crab Shack – Maryland, LLC (5297); Joe’s Crab Shack – Anne Arundel
MD, LLC (9318); Brick House Development, LLC (2944); JCS Monmouth Mall – NJ, LLC (3509); JCS Development
LLC (4235). The Debtors’ service address is: 10555 Richmond Avenue, Houston, Texas 77042.

2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.



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        3.       The Debtors’ Claims Agent is authorized and directed to update the claims register

maintained in these chapter 11 cases to reflect the relief granted in this Order.

        4.       Each claim and the objections by the GUC Trustee to each claim identified in

Schedule 1 constitute a separate contested matter as contemplated by Bankruptcy Rule 9014. This

Order will be deemed a separate order with respect to each Unliquidated Claim.

        5.       Except as provided herein, nothing in this Order shall be deemed: (a) an admission

as to the validity of any prepetition claim against a Debtor entity or such Debtor entity’s estate; (b)

a waiver of any party’s right to dispute any prepetition claim on any grounds; (c) a promise or

requirement to pay any prepetition claim; (d) an implication or admission that any particular claim

is of a type specified or defined in this Objection or any order granting the relief requested by this

Objection; (e) a request or authorization to assume any prepetition agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; or (f) a waiver of the GUC Trustee’s rights under

the Bankruptcy Code or any other applicable law.

        6.       The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.

        7.       The GUC Trustee, the Claims Agent, and the Clerk of the Court are authorized to

take all actions necessary to effectuate the relief granted pursuant to this Order in accordance with

the Objection.

        8.       This Court shall retain exclusive jurisdiction to resolve any dispute arising from or

related to this Order.

Dated: _____________, 2019
       Houston, Texas                          _____________________________________
                                               THE HONORABLE DAVID R. JONES
                                               CHIEF UNITED STATES
                                                BANKRUPTCY JUDGE




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                                  SCHEDULE 1




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                                  Ignite Restaurant Group, Inc., et al., Case No. 17-33550 (Jointly Administered) (Bank. S.D. Tex.)
                                                          GUC Trust 18th Omnibus Objection to Claims
                                                                 Schedule 1 – Unliquidated Claims

 Seq.    Claimant Name:                     Date      Case       Claimed Debtor:            Claim No.   Claim Amount:   Grounds for Objection:
 No.                                        Filed:    Number:


 1       Navigators Specialty               8/31/17   17-33550   Ignite Restaurant Group,   966         Unsecured:      Claim filed as a contingent, unliquidated
         Insurance Company and                                   Inc.                                   Unliquidated    claim based on insurance policies issued to
         certain other related entities                                                                                 the Debtors. GUC Trust is not aware of
         c/o Michael Davis                                                                                              any liability of the estates for the claim.
         Zeichner Ellman & Krause
         LLP
         1211 Avenue of the
         Americas, 40th Floor
         New York, NY 10036
 2       Navigators Specialty               8/31/17   17-33552   Joe’s Crab Shack, LLC      970         Unsecured:      Claim filed as a contingent, unliquidated
         Insurance Company and                                                                          Unliquidated    claim based on insurance policies issued to
         certain other related entities                                                                                 the Debtors. GUC Trust is not aware of
         c/o Michael Davis                                                                                              any liability of the estates for the claim.
         Zeichner Ellman & Krause
         LLP
         1211 Avenue of the
         Americas, 40th Floor
         New York, NY 10036
 3       Navigators Specialty               8/31/17   17-33553   Joe’s Crab Shack –         971         Unsecured:      Claim filed as a contingent, unliquidated
         Insurance Company and                                   Maryland, LLC                          Unliquidated    claim based on insurance policies issued to
         certain other related entities                                                                                 the Debtors. GUC Trust is not aware of
         c/o Michael Davis                                                                                              any liability of the estates for the claim.
         Zeichner Ellman & Krause
         LLP
         1211 Avenue of the
         Americas, 40th Floor
         New York, NY 10036
 4       Navigators Specialty               8/31/17   17-33554   JCS Monmouth Mall –        972         Unsecured:      Claim filed as a contingent, unliquidated
         Insurance Company and                                   NJ, LLC                                Unliquidated    claim based on insurance policies issued to
         certain other related entities                                                                                 the Debtors. GUC Trust is not aware of
         c/o Michael Davis                                                                                              any liability of the estates for the claim.
         Zeichner Ellman & Krause
         LLP
         1211 Avenue of the
         Americas, 40th Floor
         New York, NY 10036
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                                  Ignite Restaurant Group, Inc., et al., Case No. 17-33550 (Jointly Administered) (Bank. S.D. Tex.)
                                                          GUC Trust 18th Omnibus Objection to Claims
                                                                 Schedule 1 – Unliquidated Claims

 Seq.    Claimant Name:                     Date      Case       Claimed Debtor:           Claim No.   Claim Amount:    Grounds for Objection:
 No.                                        Filed:    Number:


 5       Navigators Specialty               8/31/17   17-33555   JCS Development, LLC      973         Unsecured:       Claim filed as a contingent, unliquidated
         Insurance Company and                                                                         Unliquidated     claim based on insurance policies issued to
         certain other related entities                                                                                 the Debtors. GUC Trust is not aware of
         c/o Michael Davis                                                                                              any liability of the estates for the claim.
         Zeichner Ellman & Krause
         LLP
         1211 Avenue of the
         Americas, 40th Floor
         New York, NY 10036
 6       Navigators Specialty               8/31/17   17-33556   Joe’s Crab Shack –        974         Unsecured:       Claim filed as a contingent, unliquidated
         Insurance Company and                                   Redondo Beach, Inc.                   Unliquidated     claim based on insurance policies issued to
         certain other related entities                                                                                 the Debtors. GUC Trust is not aware of
         c/o Michael Davis                                                                                              any liability of the estates for the claim.
         Zeichner Ellman & Krause
         LLP
         1211 Avenue of the
         Americas, 40th Floor
         New York, NY 10036
 7       Navigators Specialty               8/31/17   17-33557   Joe’s Crab Shack – Anne   975         Unsecured:       Claim filed as a contingent, unliquidated
         Insurance Company and                                   Arundel MD, LLC                       Unliquidated     claim based on insurance policies issued to
         certain other related entities                                                                                 the Debtors. GUC Trust is not aware of
         c/o Michael Davis                                                                                              any liability of the estates for the claim.
         Zeichner Ellman & Krause
         LLP
         1211 Avenue of the
         Americas, 40th Floor
         New York, NY 10036




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                                  Ignite Restaurant Group, Inc., et al., Case No. 17-33550 (Jointly Administered) (Bank. S.D. Tex.)
                                                          GUC Trust 18th Omnibus Objection to Claims
                                                                 Schedule 1 – Unliquidated Claims

 Seq.    Claimant Name:                     Date      Case       Claimed Debtor:           Claim No.   Claim Amount:    Grounds for Objection:
 No.                                        Filed:    Number:


 8       Navigators Specialty               8/31/17   17-33558   BHTT Entertainment,       976         Unsecured:       Claim filed as a contingent, unliquidated
         Insurance Company and                                   LLC                                   Unliquidated     claim based on insurance policies issued to
         certain other related entities                                                                                 the Debtors. GUC Trust is not aware of
         c/o Michael Davis                                                                                              any liability of the estates for the claim.
         Zeichner Ellman & Krause
         LLP
         1211 Avenue of the
         Americas, 40th Floor
         New York, NY 10036
 9       Navigators Specialty               8/31/17   17-33559   Brick House               977         Unsecured:       Claim filed as a contingent, unliquidated
         Insurance Company and                                   Development, LLC                      Unliquidated     claim based on insurance policies issued to
         certain other related entities                                                                                 the Debtors. GUC Trust is not aware of
         c/o Michael Davis                                                                                              any liability of the estates for the claim.
         Zeichner Ellman & Krause
         LLP
         1211 Avenue of the
         Americas, 40th Floor
         New York, NY 10036
 10      Navigators Specialty               8/31/17   17-33551   Ignite Restaurant Group   988         Unsecured:       Claim filed as a contingent, unliquidated
         Insurance Company and                                   – RSC LLC                             Unliquidated     claim based on insurance policies issued to
         certain other related entities                                                                                 the Debtors. GUC Trust is not aware of
         c/o Michael Davis                                                                                              any liability of the estates for the claim.
         Zeichner Ellman & Krause
         LLP
         1211 Avenue of the
         Americas, 40th Floor
         New York, NY 10036




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                                  Ignite Restaurant Group, Inc., et al., Case No. 17-33550 (Jointly Administered) (Bank. S.D. Tex.)
                                                          GUC Trust 18th Omnibus Objection to Claims
                                                                 Schedule 1 – Unliquidated Claims

 Seq.    Claimant Name:                     Date      Case       Claimed Debtor:            Claim No.   Claim Amount:   Grounds for Objection:
 No.                                        Filed:    Number:


 11      Navigators Specialty               8/31/17   17-33561   Ignite Restaurants – New   989         Unsecured:      Claim filed as a contingent, unliquidated
         Insurance Company and                                   Jersey, LLC                            Unliquidated    claim based on insurance policies issued to
         certain other related entities                                                                                 the Debtors. GUC Trust is not aware of
         c/o Michael Davis                                                                                              any liability of the estates for the claim.
         Zeichner Ellman & Krause
         LLP
         1211 Avenue of the
         Americas, 40th Floor
         New York, NY 10036




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                                    EXHIBIT B

                             Declaration of Ivona Smith




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                           )        Chapter 11
                                                                 )
IGNITE RESTAURANT GROUP, INC., et al.,1                          )        Case No. 17-33550 (DRJ)
                                                                 )
                    Debtors.                                     )        (Jointly Administered)
                                                                 )

           DECLARATION OF IVONA SMITH IN SUPPORT OF
      GUC TRUST’S EIGHTEENTH OMNIBUS OBJECTION TO CLAIMS
PURSUANT TO SECTION 502(B) OF THE BANKRUPTCY CODE AND RULE 3007 OF
THE FEDERAL RULES OF BANKRUPTCY PROCEDURE SEEKING TO DISALLOW
                  AND EXPUNGE CERTAIN CLAIMS

                                         (UNLIQUIDATED CLAIMS)

           Pursuant to 28 U.S.C. § 1746, I, Ivona Smith, hereby declare as follows:

           1.       I am the Authorized Representative at Drivetrain, LLC (“Drivetrain”). My business

address is 630 Third Avenue, 21st Floor, New York, NY 10017.

           2.       Contemporaneously with the filing of this Declaration, the GUC Trustee filed the

GUC Trust’s Eighteenth Omnibus Objection to Claims Pursuant to Section 502(b) of the

Bankruptcy Code and Rule 3007 of the Federal Rules of Bankruptcy Procedure Seeking to

Disallow and Expunge Certain Claims (Unliquidated Claims) (the “Objection”).2

           3.       The GUC Trustee has duly authorized me to make and submit this Declaration in

support of the Objection.



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number (if any), are: Ignite Restaurant Group, Inc. (1359); Ignite Restaurant Group – RSC LLC (1791); Joe’s Crab
    Shack, LLC (4189); Joe’s Crab Shack – Redondo Beach, Inc. (5107); BHTT Entertainment, LLC (9818); Ignite
    Restaurants – New Jersey, LLC (5907); Joe’s Crab Shack – Maryland, LLC (5297); Joe’s Crab Shack – Anne
    Arundel MD, LLC (9318); Brick House Development, LLC (2944); JCS Monmouth Mall – NJ, LLC (3509); JCS
    Development LLC (4235). The Debtors’ service address is: 10555 Richmond Avenue, Houston, Texas 77042.

2
    All capitalized terms used but not defined herein shall have the meanings given to them in the Objection.



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        4.       The facts set forth in this Declaration are based upon my personal knowledge or

upon records kept in the ordinary course of the Debtors’ business provided to the GUC Trustee

that were reviewed by me or other representatives of Drivetrain, LLC under my supervision and

direction. If called and sworn as a witness, I could and would testify competently to the matters

set forth herein.

        5.       I have coordinated and supervised the GUC Trustee’s claims reconciliation process.

Accordingly, I, or other representatives of Drivetrain, LLC under my supervision and direction,

reviewed and analyzed the proofs of claim listed in Schedule 1 to Exhibit A attached to the

Objection.

                                          The Objection

        6.       The GUC Trustee and its advisors are in the process of reviewing all general

unsecured proofs of claim filed in these cases. As part of this review, the GUC Trustee and its

advisors are not aware that the Debtors’ estates have any liability for the Unliquidated Claims

listed in Schedule 1 to Exhibit A. The claimants filing the Unliquidated Claims have not moved

to amend their claims, or otherwise take action to fix the Unliquidated Claims at a certain dollar

amount, and the GUC Trust and its advisors are not aware of any liability of the Debtors’ estates

to such claimants. If the Unliquidated Claims are not disallowed and expunged, the parties that

filed these claims could receive recoveries to which they are not actually entitled. In addition, the

GUC Trustee cannot make distributions on unliquidated claims for amounts that are unknown.

        7.       I understand that, pursuant to the Plan and GUC Trust Agreement, only a limited

amount of funds are available for distribution to general unsecured creditors and the GUC Trust is

not reserving for contingent and/or unliquidated claims and therefore is requesting that the Court,




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in the alternative, estimate the Unliquidated Claims at $0.00 for distribution purposes, and/or

expunge and disallow, either in whole or in part, the Unliquidated Claims.

          8.     Accordingly, based upon my review of the Unliquidated Claims subject to the

Objection, I believe that the relief sought in the Objection is in the best interests of the GUC Trust

and general unsecured creditors.

          9.     For these reasons, the GUC Trustee respectfully requests that the Court disallow

and expunge each Unliquidated Claim in its entirety.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct to the best of my knowledge and

belief.

Dated: July 26, 2019
                                                       /s/ Ivona Smith
                                                       Ivona Smith
                                                       Drivetrain, LLC, in its capacity as GUC
                                                       Trustee of the Ignite Restaurant Group GUC
                                                       Trust




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